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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


IN RE TURKEY ANTITRUST LITIGATION
                                                                 Case No. 1:19-cv-08318

This Document Relates To:                                    Honorable Virginia M. Kendall
Commercial and Institutional Indirect Purchaser             Honorable Keri L. Holleb Hotaling
Plaintiffs’ Actions (Case No. 1:20-cv-02295)




      DECLARATION OF CRAIG S. COLEMAN IN SUPPORT OF DEFENDANTS’
      OPPOSITION TO THE COMMERCIAL AND INSTITUTIONAL INDIRECT
        PURCHASER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

        I, Craig S. Coleman, pursuant to 28 U.S.C. § 1746, hereby declare:

        1.        I am a partner at Faegre Drinker Biddle & Reath LLP and represent Hormel Foods

Corporation in the above-captioned matter. I submit this declaration in support of Defendants’

Opposition to the Commercial and Institutional Indirect Purchaser Plaintiffs’ Motion for Class

Certification, which is being filed concurrently with this Declaration.

        2.        Attached as Exhibits 1-26 are true and correct copies of the following documents:

 Exhibit      Description

 1            Excerpts from the September 14, 2022 30(b)(1) Deposition of Suzon Awbrey
              (Owner, Stickyz Rock ‘N’ Roll Chicken Shack)
 2            Excerpts from the September 21, 2022 30(b)(1) & 30(b)(6) Deposition of Maire
              Byrne (Owner, Thyme Café and Market)
 3            Excerpts from the September 1, 2022 30(b)(1) & 30(b)(6) Deposition of Robert
              Foti (Owner, Sandee’s Bakery)
 4            Excerpts from the October 11, 2022 30(b)(6) Deposition of John Haire (Vol. I)
              (Chief Operating Officer, Martin’s Bar-B-Que)
 5            Excerpts from the September 13, 2021 30(b)(1) & 30(b)(6) Deposition of
              Christopher King (Owner, Stickyz Rock ‘N’ Roll Chicken Shack)




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 6            Excerpts from the October 25, 2022 30(b)(6) Deposition of John Haire (Vol. II)
              (Chief Operating Officer, Martin’s Bar-B-Que)
 7            Excerpts from the September 16, 2022 30(b)(1) & 30(b)(6) Deposition of Daniel
              Harper (Chief Financial Officer, Homegrown Hospitality Group, Liberty Holding
              Company)
 8            Excerpts from the August 30, 2023 Deposition of Russell W. Mangum, III, Ph.D

 9            Excerpts from the October 31, 2022 Deposition of Melissa Hoyt (Senior Director
              of Strategic Sourcing, Sysco)
 10           Boar’s Head Provision Co., Inc./Farbest Foods, Inc. Meat Purchase Agreement
              dated July 1, 1998 (FARBEST0001729320–0001729331)
 11           Boar’s Head Provision Co., Inc./Farbest Foods, Inc. Meat Purchase Agreement
              dated December 20, 2005 (FARBEST0001729256–0001729271)
 12           Raw Material Supply Material Agreement between Boar’s Head Provisions Co.
              Inc. & Farbest Foods, Inc. (signed January 2012) (FARBEST0001729289–
              0001729301)
 13           Excerpts from the June 2, 2022 Deposition of Stacey Edwards (Former Program
              Manager, Agri Stats)
 14           Excerpts from the June 7, 2022 Deposition of Eric Scholer (President of Express
              Markets, Inc. and Vice President of Operations, Agri Stats)
 15           Excerpts from the April 19, 2022 Deposition of Thomas Knapp (Former Account
              Manager, Agri Stats)
 16           Excerpts from the October 27, 2022 Deposition of Curtis Ange (Vice President of
              Product Development, Agri Stats)
 17           Excerpts from the September 23, 2022 Deposition of Amanda Martin (Former
              Auditor, Agri Stats; Director of Poultry, Express Markets, Inc.)
 18           Agri Stats Broiler Industry Report (May 2011) (AGSTAT-T-03949460–
              03949512)
 19           Excerpts from the August 10, 2022 Deposition of Gary Cooper (Chief Operating
              Officer and Owner, Cooper Farms)
 20           United States Department of Agriculture Livestock, Dairy, and Poultry Outlook
              (July 17, 2013) (BB000677123–000677139)
 21           Excerpts from the August 31, 2022 30(b)(1) Deposition of Ted Seger (Owner,
              Farbest)
 22           National Turkey Federation Executive Committee Meeting Minutes (July 2008)
              (PFI00001743–00001751)
 23           Excerpts from the October 7, 2022 Deposition of Joel Brandenburger (President
              and CEO, National Turkey Federation)



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 24            Cargill Turkey & Cooked Meats Presentation (December 14, 2015)
               (CMS0000126144–0000126176)
 25            Excerpts from the October 5, 2022 30(b)(1) & 30(b)(6) Deposition of Daniel Ryan
               Gnemi (Owner, Gnemi, LLC/Logan Farms)
 26            Cargill Value Added Meats Retail Pricing Offer (May 23, 2011) (G00000025)

        3.        Exhibits 1-26 and Defendants’ Opposition to the Commercial and Institutional

Indirect Purchaser Plaintiffs’ Motion for Class Certification contain or refer to information

designated as “Confidential Information” or “Highly Confidential Information” under the

Protective Order entered in this case. Specifically, these Exhibits contain competitively sensitive

information regarding Defendants’ customer pricing and sales, market pricing research, and

pricing and sales strategy, which is not known outside of Defendants’ business, remains secret by

Defendants’ affirmative efforts, and gives Defendants competitive advantages by remaining secret

such that publicizing it would put Defendants at a competitive disadvantage.

        4.        The information is valuable in that it contains insights into Defendants’ (a) current

or future business strategies and other strategic planning information; (b) projections or plans

regarding performance, budgets, production, output, sales, marketing, or distribution practices; (c)

margin, cost, and pricing information; (d) research, technical, commercial, or financial information

that Defendants have maintained as confidential; or (e) material that could be used to obtain an

unfair advantage in sales negotiations or for other improper purposes against the producing party.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

        Executed on the 26th day of January, 2024 in Minneapolis, Minnesota.

                                                         Respectfully submitted,

                                                         /s/ Craig S. Coleman
                                                         Craig S. Coleman




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